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                 Exhibit
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Case 2:17-cv-14148-ELC-DPH-GJQ ECF No. 129-17 filed 10/13/18                               PageID.3541     Page 2
                                    of 16
 Message
From :       Jeff Timmer utimmer@sterlingcorporation.com]
Sent :       3/8/2011 7:55:03 PM
To:          rlabrant@michamber.com
SUbject:     More detail on CD plan
Attachments: COMBINED.pdf


 Bob,
 Here is the map we discussed yesterday with separate maps for the individual districts.

Jeff




                                                                                                 J~      EXHIBIT

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Case 2:17-cv-14148-ELC-DPH-GJQ ECF No. 129-17 filed 10/13/18         PageID.3554     Page
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